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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,             )   CR. NO. 22-00060-LEK
                                      )
            Plaintiff,                )   MOTION FOR REVOCATION OF
                                      )   DETENTION ORDER AND
      vs.                             )   APPEAL OF DETENTION ORDER;
                                      )   EXHIBITS “A - B”; CERTIFICATE
WALTER GLENN PRIMROSE,                )   OF SERVICE
                                      )
            Defendant.                )
                                      )
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                  IN THE UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA,               )   CR. NO. 22-00060-LEK
                                        )
             Plaintiff,                 )   MOTION FOR REVOCATION OF
                                        )   DETENTION ORDER AND
      vs.                               )   APPEAL OF DETENTION ORDER;
                                        )   EXHIBITS “A - B”; CERTIFICATE
WALTER GLENN PRIMROSE,                  )   OF SERVICE
                                        )
             Defendant.                 )
                                        )

            MOTION FOR REVOCATION OF DETENTION ORDER
                 AND APPEAL OF DETENTION ORDER

      Pursuant to 18 U.S.C. § 3145(b) and Criminal Local Rules of Practice for

the United States District Court for the District of Hawaii Rule 57.7, Defendant

WALTER GLENN PRIMROSE moves the District Court to revoke the Honorable

U.S. Magistrate Judge Rom Trader’s Order of Detention Pending Trial, filed
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July 29, 2022, and to release him with restrictive conditions, including home

detention, GPS electronic location monitoring, and the posting of a bond secured

by cash deposited with the Court.

                 I.    SUMMARY OF DEFENDANT’S POSITION

      A balancing of societal interests with Mr. Primrose’s liberty interests can be

accomplished with release under restrictive conditions, including a condition

requiring him to abide by home detention and GPS electronic location monitoring,

as well as any other restrictive conditions which will suffice to eliminate any

serious risk that he will flee. Mr. Primrose’s personal history and characteristics,

his lack of any criminal record, and his willingness to abide by any conditions of

release, including the posting of a bond secured by cash deposited with the Court,

demonstrate that he can be safely released into the community and will attend

future court proceedings as required.

           II.        BACKGROUND AND PROCEDURAL HISTORY

      On July 21, 2022, the government filed a three-count Criminal Complaint

against Mr. Primrose and his co-defendant, charging Mr. Primrose specifically

with: (1) Conspiracy to Commit Offense Against the United States, in violation of

18 U.S.C. § 371; (2) Aggravated Identity Theft, in violation of 18 U.S.C.

§ 1028A(1); and (3) False Statement in Application and Use of Passport, in

violation of 18 U.S.C. § 1542. See ECF No. 1. On July 25, 2022, the same day of

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his initial appearance, ECF No. 11, the government filed a Motion to Detain

(“Motion”). See ECF No. 10. The government also filed an exhibit in support of its

Motion. See ECF No. 12. On July 28, 2022, the Court held a detention hearing.

ECF No. 21. On the same day, the government filed an Indictment against Mr.

Primrose and his co-defendant, alleging the same charges as the Complaint. See

ECF No. 19. On July 29, 2022, the Court issued its Order of Detention Pending

Trial (“Detention Order”) and determined that, by a preponderance of the evidence,

there was no condition or combination of conditions that will reasonably assure

Mr. Primrose’s appearance as required. See ECF No. 24. On August 2, 2022, the

Court held an Arraignment and Plea to the Indictment, and Mr. Primrose entered

not guilty pleas. ECF No. 28. Trial is currently set for September 26, 2022. Id.

                             III.   APPLICABLE LAW

      The release or detention of a defendant pending trial is governed by the Bail

Reform Act of 1984 (“Act”). See U.S.C. §§ 3141 et seq. In United States v.

Salerno, 481 U.S. 739, 107 S.Ct. 2095 (1987), the Supreme Court upheld the

constitutionality of the Act, while noting that “[i]n our society, liberty is the norm,

and detention prior to trial or without trial is the carefully limited exception.” Id. at

755. As stated in United States v. Townsend, 897 F.2d 989, 993-94 (9th Cir. 1990),

federal law has traditionally provided that a person arrested for a non-capital

offense shall be admitted to bail. Id. (emphasis added) (citing United States v.

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Motamedi, 767 F.2d 1403, 1405 (9th Cir. 1985)). A court should deny release only

in rare cases. Id. (citing Sellers v. United States, 89 S.Ct. 36, 38, 21 L.Ed.2d 64

(1968)). Doubts regarding the propriety of release are to be resolved in favor of

defendants. Id. (citing Herzog v. United States, 75 S.Ct. 349, 351, 99 L.Ed. 1299

(1955)).

      The Act establishes a “statutory progression” regarding the release of

defendants prior to trial. See United States v. Orta, 760 F.2d 887, 891 (8th Cir.

1985). Section 3142(a) provides four alternatives from which the judicial officer

must choose. The defendant may be: (1) released on personal recognizance or on

an unsecured appearance bond; (2) released on conditions; (3) temporarily detained

for other purposes; or (4) detained under section 3142(e).

      Section 3142(b) provides the court must order the pretrial release of the

person on personal recognizance, or upon execution of an unsecured appearance

bond, “unless the judicial officer determines that such release will not reasonably

assure the appearance of the person as required or will endanger the safety of any

other person or the community.” Upon such a showing, the court should ordinarily

order release on conditions, as described in section 3142(c). Only where the

judicial officer finds that no condition or combination of conditions will reasonably

assure the appearance of the person as required and the safety of any other person



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and the community, may the court order the defendant detained prior to trial,

pursuant to section 3142(e).

      Before ordering detention, moreover, the court must hold a detention

hearing, which is only authorized under those circumstances enumerated in section

3142(f). Thus, if the Government moves to have a defendant detained prior to trial,

the Court must undertake a two-step analysis. United States v. Friedman, 837 F.2d

48, 49 (2d Cir.1988); United States v. Madoff, 586 F.Supp.2d 240, 247 (S.D.N.Y.

2009). The Court must first determine whether pretrial detention is authorized

under section 3142(f). If pretrial detention is authorized, then the Court must

determine, pursuant to section 3142(e), whether there is any condition or

combination of conditions which will reasonably assure the defendant's appearance

as required and the safety of any other person and the community if he is released.

      On appeal, this Court conducts a de novo review of the Magistrate Judge’s

findings.1 See, e.g., Criminal Local Rule 57.7; United States v. Koenig, 912 F.2d

1190, 1191 (9th Cir. 1990).

                                IV.   ARGUMENT

      In this case, the government cannot prove by a preponderance of the

evidence that Mr. Primrose is a serious flight risk. And even if this Court


1
      The Magistrate Judge determined that, by a preponderance of the evidence,
there was no condition or combination of conditions that will reasonably assure
Mr. Primrose’s appearance as required.
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determines that the government can meet its burden, there are nevertheless

conditions that will reasonably assure Mr. Primrose’s appearance at Court.

Accordingly, this Court should release Mr. Primrose on conditions including, inter

alia, home detention, GPS electronic location monitoring, and the requirement that

Mr. Primrose post a bond secured by cash deposited with this Court.

      A.     The Government Cannot Prove by a Preponderance of the
             Evidence that Mr. Primrose is a Serious Flight Risk

      The government’s Motion, ECF No. 10, as well its arguments at the hearing

on its Motion, see Exhibit A (Transcript of Detention Hearing), do not prove by a

preponderance of the evidence that Mr. Primrose presents a serious risk of flight.

See 18 U.S.C. § 3142(f)(2). Begin with its Motion. The government, apparently,

first argues that Mr. Primrose presents as a serious flight risk because he “held a

secret clearance” while working for both the U.S. Coast Guard and then a defense

contractor. Motion, at p. 2. Having a “secret clearance,” however, does not

establish—by a preponderance of the evidence or, frankly, any standard of

evidentiary proof—that someone is a serious flight risk. It instead demonstrates

that the U.S. Coast Guard and his subsequent employer entrusted Mr. Primrose (or,

as the government alleges, Mr. Bobby Edward Fort), with such clearance because

he was a valued, important, and high-ranking employee.

      Moreover, and revealingly, the government does not allege that Mr.

Primrose somehow abused or misused this “secret clearance” in any way. The
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government does not allege that Mr. Primrose “stole” any classified information.

The government does not allege that he accessed or handled material that he was

prohibited from doing so. The government does not allege that any classified

information or materials went unaccounted for during his employment, or ended up

in the possession of a foreign adversary.

      In reality, and irrespective of whatever name or identity the government

alleges Mr. Primrose used to join the U.S. Coast Guard, Mr. Primrose was never,

not once, reprimanded, punished, or discharged by the U.S. Coast Guard (or his

subsequent employer) for any improprieties during his years of employment either

related to his secret clearance or anything else. Thus, for the government to rely

solely upon conjecture and speculation regarding Mr. Primrose’s access to and

handling of such classified information is not an argument this Court should view

as a credible basis to detain him. See Exhibit A, at p. 13 (“It’s unclear what kind of

information, if any, he may have stolen or provided to others in connections with

his work with the military and as a civilian with the Department of Defense.”).

      The government’s Motion then argues that while Mr. Primrose was

employed with the U.S. Coast Guard, he allegedly “did not report several trips to

Canada.” Motion, at p. 2. It is unclear from the government’s Motion whether Mr.

Primrose’s purported foreign travel to Canada was for work purposes with the U.S.

Coast Guard, or for something else. At the detention hearing, the government

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likewise failed to provide any additional context in this regard. See Exhibit A, at

p. 10 (“Law enforcement has also determined to date the Defendant omitted some,

but not all of his foreign travel when he was complying with mandatory recording

requirements triggered by his security clearance.”). It is nevertheless believed that

the government is referring to Mr. Primrose’s alleged failure to report work-related

travel. If so, then there is a full accounting of Mr. Primrose’s travel record

contained in the U.S. Coast Guard’s “Air Crew Log Book,” and any alleged failure

by Mr. Primrose to report such travel is inconsequential. And if it is true that Mr.

Primrose failed to report this travel, he would submit it was merely an oversight on

his part, and that it was not done for nefarious purposes. He would even

acknowledge to this Court that the travel occurred. Simply put, he has nothing to

hide.

        That Mr. Primrose allegedly failed to report certain foreign travel to Canada,

furthermore, does not somehow demonstrate his serious risk of flight. The

government does not appear to allege that Mr. Primrose somehow snuck into

Canada or back into the United States, or that he did not comply with any exit or

entry requirements. And, as described more fully infra, a condition of his release

can require him to self-surrender all passports in his possession—if they have not

already been seized by the government—which would mitigate against any

potential serious flight risk to a foreign country. Mr. Primrose could also be

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required to surrender all forms of identification and be subjected to a travel

restriction to the island of Oahu, along with home detention and GPS electronic

location monitoring, to guard against and, frankly, prevent, inter-island or U.S.

mainland travel. Such restrictions—along with the geographical location of

Oahu—would render it all but impossible for Mr. Primrose to escape to another

jurisdiction.

       The government’s Motion next avers “[d]efendant Primrose through his

work in the Coast Guard as an avionics technician has become highly skilled in

electronics and would be able to communicate surreptitiously with others if

released from pretrial confinement.” Motion, at p. 2. To begin, it is presumed that

the government has already seized all of Mr. Primrose’s electronic devices. This

Court, furthermore, could set additional stringent conditions of release—discussed

infra—that would severely restrict—or even outlaw—the types of electronic

devices Mr. Primrose would be able to own, possess, and/or use. Thus, when the

ability to communicate with others—surreptitiously or not—has been stripped

away in practical terms, the government cannot credibly argue that Mr. Primrose’s

prior skills as an avionics technician factors into or somehow evinces his serious

risk of flight.

       It is additionally unclear, moreover, who Mr. Primrose would communicate

with to assist with any possible escape from the District of Hawaii. At his detention

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hearing, the government did not proffer any evidence about the individual(s), or

group(s), or foreign government(s), as to whom Mr. Primrose might communicate

with to effectuate his departure. Rather, the government argued “[Mr. Primrose]

might be motivated to share that information as part of a bid to flee the United

States,” see Exhibit A, at p. 13, yet another fallacious argument predicated only on

guesswork. Indeed, the government has proffered zero evidence that Mr. Primrose

has ever communicated with any foreign adversary, such as Russia, about anything

related to his prior employment, or anything else, and there is no reason to believe

he would do so now.

      The following proffered information, however, is not guesswork. Mr.

Primrose is a United States citizen. He has been a United States citizen his entire

life. He has no allegiance to a foreign country, a foreign government, or foreign

security agency. He has lived on Oahu since approximately June 2000, and even

purchased two homes in Kapolei with money earned from his employment. He has

no prior criminal record. He worked in the U.S. Coast Guard for over twenty years,

and then for a subsequent employer until his arrest in this case, and his personnel

files are devoid of disciplinary issues, reprimands, or any other concerns. And

given that he owns two homes, this Court can release him to the one he resided in

on restrictive conditions, including home confinement and GPS electronic location



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monitoring, to mitigate against any serious flight risk, along with the other

conditions previously discussed and to be discussed, infra.

      In further support of detention, the government’s Motion states, “it is

believed that the defendants may have established aliases other than ‘Bobby

Edward Fort’ … federal agents have seized letters at defendants’ residence

addressed to the defendants in their false identities in which the greetings in the

letters refer to defendants by names other than Bobby [or] Walter.” Motion, at p. 2.

At the detention hearing, the government reiterated that “during the search[,] law

enforcement located numerous other documents consistent with other fake aliases

beyond Mr. Fort that were used potentially by the Defendant.” See Exhibit A, at

p. 12. The government’s “belief” about these purported aliases, however, does not

amount to proof by a preponderance of the evidence. If the government has

credible evidence that these aliases were used to endanger the national security of

the United States, or were used in any criminal manner, it should state so and

present such letters as exhibits to this Court.2 Anything short of that leaves it up to

the defense and the Court’s imagination and is a ploy that falls well short of the

government’s requisite burden of proof required to detain Mr. Primrose. The

defense, rather, believes that these supposed letters are whimsical in nature, are not



2
      As of this writing, discovery has not yet been produced to the defense.

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criminal in any way whatsoever, and the mere fact that different names or aliases

may or may not have used in them does not establish that Mr. Primrose is a serious

flight risk by a preponderance of the evidence.

      Last, in support of detention, the government’s Motion references the

photographs it seized from Mr. Primrose’s residence that depict “the defendants

apparently some years ago wearing what have been identified as KGB uniforms.”

Motion, at p. 3. The government also submitted the photographs in support of its

Motion. See ECF No. 12. At Mr. Primrose’s detention hearing, the government

doubled down on the inflammatory nature of the photographs and again referenced

law enforcement’s discovery of the “polaroid photographs … of the Defendant and

his wife both wearing what seems to be Russian KGB uniforms,” see Exhibit A, at

p. 9, to support detention.

      Without outright stating so, the government’s arguments, in tandem with its

submission of the photographs, have had the intended effect of portraying Mr.

Primrose and his co-defendant as Russian spies. The government, however, has

never alleged that Mr. Primrose is a current KGB agent. It has not stated he is a

former KGB agent. It does not allege he is a sleeper agent or a Russian spy. It has

never said that he has ties to Russia. It has never stated he has communicated with

Russians. It does not even claim he has even travelled to Russia, let alone any other



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countries previously part of the “communist bloc” of the former U.S.S.R.3 Indeed,

if any of this was even remotely true, there is no doubt that the government would

have presented these circumstances to the Court during the detention proceedings,

and argued that they demonstrated Mr. Primrose’s danger to the community by

clear and convincing evidence under the Bail Reform Act. It did not. Even more

tellingly, the government has not informed undersigned counsel about any pre-

requisites to Mr. Primrose’s representation.4




3
       The government’s Motion also states that Mr. Primrose’s co-defendant,
Gwynn Darle Morrison, aka “Julie Lyn Montague,” possibly lived abroad in
Romania some time ago “while that country was within the Communist bloc.”
Motion, at p. 2-3. This argument, however, does not aver that Mr. Primrose lived
abroad—either with co-defendant Morrison or by himself—in Romania or
anywhere else. The argument also fails to provide context about co-defendant
Morrison’s purported reasons for living abroad, which very well could have been
for innocent purposes. Absent further context, this Court should not ascribe any
improper meaning to his co-defendant’s purported prior living arrangements, as the
government’s Motion, in tandem with its oral arguments, insinuates.
4
       It is undersigned counsel’s experience in prior cases involving national
security matters that only certain defense counsel with requisite security clearances
can engage in such representation. The reason for this is because such security
clearance is required to review government evidence and materials in a secured
location. Undersigned counsel does not have the requisite security clearance
required for such cases. Thus, the lack of notice from the government likely means
that top-secret security clearance is not required for Mr. Primrose’s
representation—as of now—and further demonstrates the unlikelihood that this
case involves matters involving national security or defendants who are secret
KGB agents and/or Russian spies.

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      This photograph, furthermore, absent any explanation or context from the

government, only ratchets up the rampant speculation about what this case could

be about. If the government has any credible evidence that Mr. Primrose and his

co-defendant are Russian spies, or the like, it should unequivocally present such

information to the Court instead of allowing the media and press to carry its water.5

      Instead, the one true thing the defense has learned from the government

about this photograph comes from a recent communication between the parties. In

an email dated August 5, 2022, the government explained to the defense: “please

be advised that a witness has said that the photos of Defendants Primrose and

Morrison in a KGB uniform were taken sometime in the 1990’s. Federal agents

were given the alleged uniform.” See Exhibit B. This email is informative for

several reasons.

      First, it seemingly confirms that Mr. Primrose and his co-defendant are

wearing the same single uniform in the photographs, which would tend to suggest



5
       See Lynn Kawano, They lived quiet lives in Hawaii for years. The US
alleges they were actually Russian spies, Hawaii News Now (July 26, 2022),
https://bit.ly/3djNAlV (last visited August 10, 2022); see also David Proper,
Hawaii couple with possible KGB ties charged with stealing IDs of dead babies,
New York Post (July 27, 2022), https://bit.ly/3SFDAUm (last visited August 10,
2022); see Kevin Knodell, Feds arrest Kapolei couple, allude to Russian
intelligence ties, Honolulu Star Advertiser (July 28, 2022), https://bit.ly/3BVzTE0
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Hawaii couple charged with assuming the identities of dead children, CNN
(August 2, 2022), https://cnn.it/3QvHP2O (last visited August 10, 2022).
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that they are not both spies. Second, and perhaps more importantly, the

government alludes to the fact that someone else owned/possessed the KGB

uniform and turned it into federal agents. Mr. Primrose’s lack of ownership and

possession of the alleged KGB uniform even more strongly supports the inference

that he and his co-defendant, are not, in fact, Russian spies, and that the

photographs of them are more akin to dressing up in a costume, engaging in

cosplay, or the like.

      Aside from its submission of the photographs and arguments about it at the

detention hearing, the government also made reference to the discovery of other

items at Mr. Primrose’s residence to further cast him as a spy: “[i]n addition to the

polaroid photographs, law enforcement located an invisible ink kit, documents that

seemingly contained coded language, maps showing military bases,

correspondence between the Defendants referencing an associate … who believed

that the Defendant may have joined the CIA or became a terrorist in Bolivia[.]” See

Exhibit A, at p. 9. Much like the photograph of Mr. Primrose wearing an alleged

KGB uniform, it is believed that all these items have innocent, non-criminal

explanations.

      The “invisible ink kit” for example, is believed to be a toy purchased many

years ago for entertainment. The government has never alleged that Mr. Primrose

used this invisible ink kit set in any illicit manner. The documents containing

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coded language, moreover, are likely the personal and whimsical letters discussed

supra. And the map with military bases is likely a map Mr. Primrose obtained

during his employment with the U.S. Coast Guard to learn of suitable bases to stay

as a guest while travelling around the world, a supposed perk of his employment

with the U.S. Coast Guard. In other words, these items, when properly examined

and understood beyond surface level, are innocuous.

      As for the letter referenced by the government in which Mr. Primrose is

alleged to be a CIA agent, or a Bolivian terrorist, such information contained in it

cannot credibly be reconciled with the underlying government allegation that he is

a covert Russian operative. Stated otherwise, it is simply not feasible that Mr.

Primrose is a member of the CIA, a Bolivian terrorist, and a Russian spy, all the

while working at both the U.S. Coast Guard and a private employer and living a

relatively low-key lifestyle in Kapolei for the last twenty years. The reference to

this letter, as well as the other items, thus only adds fuel to the incessant innuendo

and speculation underpinning the charges in this case.

      In sum, the government should put its money where its mouth is, submit all

this evidence to the Court, and let the Court ascertain the veracity behind its claims

that Mr. Primrose is a Russian spy. From there, the Court can better determine that

the government’s arguments are without merit, and utterly fail to prove by a

preponderance of the evidence that Mr. Primrose is a serious flight risk.

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      B.     Even if the Court Determines Mr. Primrose is a Serious Flight
             Risk, There are Conditions That Will Reasonably Assure His
             Appearance and the Safety of the Community

      Even if the Court determines that pretrial detention is authorized, it is only

appropriate if the Court “finds no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(e)(1). In other words,

establishing that Mr. Primrose is a serious risk of flight is a prerequisite to his

detention, but it is not sufficient. The government must also prove by a

preponderance of the evidence that no condition or set of conditions will

reasonably assure his appearance. United States v. Abad, 350 F.3d 793, 797 (8th

Cir. 2003). It cannot.

      Instead, there are multiple conditions which can be imposed to mitigate

against serious flight risk. These conditions include but are not limited to: (1) the

posting of a bond secured by cash deposited with the Court; (2) the surrender of

any and all U.S. passports; (3) the surrender of any and all forms of identification;

(4) restrictions on applying for any new forms of identification; (5) restrictions on

use/possession of electronic devices, including but not limited to computers,

tablets, and cellular phones; (6) travel restrictions to the island of Oahu; (7) home

detention and curfew; and (8) GPS electronic location monitoring. These

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conditions all align with those contemplated under 18 U.S.C. § 3142(c)(1)(B), and

will assure that Mr. Primrose attends court as required. Mr. Primrose would also be

amenable to any other conditions or restrictions the Court might order to secure his

release.

      Further, in determining whether there are conditions which will reasonably

assure Mr. Primrose’s appearance as required, the Court must consider the factors

set forth in section 3142(g), including: (1) the nature and circumstances of the

offense; (2) the weight of the evidence against the person; (3) the history and

characteristics of the person, including – (A) the person’s character, physical and

mental condition, family ties, employment, financial resources, length of residence

in the community, community ties, past conduct, history relating to drug or alcohol

abuse, criminal history, and record concerning appearance at court proceedings;

and (B) whether, at the time of the current offense, the person was on probation or

parole; and (4) the nature and seriousness of the danger to any person or the

community that would be posed by the person’s release. A consideration of these

factors further demonstrates the appropriateness of Mr. Primrose’s release on

conditions.

      1.      The Nature and Circumstances of the Offense

      The first section 3142(g) factor concerns the nature and circumstances of the

offense. At the detention hearing, the government argued that the statutory

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maximum sentence for all counts, as well as its calculation of the advisory

sentencing guidelines in this case, counseled in favor of detention. See Exhibit A,

at p. 7. The offenses charged here, however, are relatively more benign in

comparison to many other offenses adjudicated by this Court regularly. While it is

nevertheless true that all federal criminal offenses are to be taken seriously, there is

no doubt that the charges against Mr. Primrose carry penalties far less onerous than

most others in federal court. For example, the five-year statutory maximum and

ten-year statutory maximum as to Counts One and Three, respectively, pale in

comparison to certain drug distribution offenses which carry statutory maximum

penalties of life. They also are significantly less than the twenty-year statutory

maximum for bank robbery, or the sexual exploitation of minors, which, upon first

offense, carries a statutory maximum penalty of thirty years, amongst many others.

The government also failed to mention, moreover, that this is not a case where the

charges filed against Mr. Primrose carry the presumption of detention that he must

rebut. He has nothing to rebut.

      The two-year mandatory minimum as to Count Two, furthermore, is

significantly lower than five- and ten-year mandatory minimum—sometimes even

fifteen and twenty-five year—terms of imprisonment for certain illicit drug

distribution offenses and the distribution and production of child pornography, for

example. The charges and their expected advisory sentencing ranges are also

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dwarfed by the sentencing ranges for most if not all controlled substances offenses,

firearm offenses, other white-collar crimes such as mail and wire fraud, violent

crimes, and sex offenses. So, while it is true that Mr. Primrose faces a term of

imprisonment if convicted of all the charges, the government’s grandstanding at

the detention hearing—which it knew would be well-attended by local and national

media and press—should not persuade this Court that the penalties associated with

the nature and circumstances of the offense somehow counsel in favor of detention.

They do not.

      Even the Magistrate Judge essentially recognized that, but for the undertones

of this case—not the actual offenses themselves—Mr. Primrose would be released,

and it would not be a close call. See Exhibit A, at p. 15 (“[T]he nature of the

offenses, in and of themselves, but for the context we find them, in this particular

case, might otherwise lend itself to an assessment that release under very minimal

conditions might be appropriate to ensure Mr. Primrose’s appearance.”). In truth,

the nature and circumstances of the offense allegedly involved Mr. Primrose and

his co-defendant conspiring to procure an identification card via false statements

(Count One), the use of an identity not belonging to him (Count Two), and a false

statement made to obtain a U.S. passport (Count Three). These are charges that

warrant release in nearly all other circumstances—especially for someone with no

prior criminal history—and there is nothing about the nature and circumstances of

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the alleged commission of the offenses that warrant detention, including the

amount of time that has passed since Mr. Primrose’s alleged initial stealing of and

changing identities.

      Also not to be overlooked or outright dismissed, and contrary to the

government’s allegations about Mr. Primrose’s supposed underlying motivation for

his alleged commission of the offenses, is that a benign reason could very well

explain the genesis of his offense. It could be the case that, for example, Mr.

Primrose assumed a new identity to escape a bad situation while living in Texas,

such as the collection of outstanding debts, familial disputes, or several other non-

salacious reasons not involving international espionage. This factor, therefore,

either weighs slightly in favor of his release, or at best to the government, is

neutral.

      2.     Weight of the Evidence

      The second section 3142 (g) factor concerns the weight of the evidence,

which this Court should not place considerable emphasis on because doing so is

akin to applying a presumption of guilt, which is expressly forbidden under section

3142(j). And even if this Court considers the weight of the evidence supporting

Mr. Primrose’s supposed guilt, case precedent in the Ninth Circuit dictates that the

weight of the evidence is the least significant factor under 18 U.S.C. § 3142(g). See

Motamedi, 767 F.2d at 1408; United States v. Townsend, 897 F.2d 989, 994 (9th

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Cir. 1990); United States v. Jones, 566 F. Supp. 2d 288, 292 (S.D.N.Y. 2008)

(“Courts generally consider the Weight Factor as the ‘least important’ of the

Factors.”). The Magistrate Judge likewise agreed that “the weight of the evidence

is clearly not the strongest factor [in this case].” See Exhibit A, at p. 10.

Accordingly, this factor also weighs in favor of Mr. Primrose’s release,

irrespective of the government’s belief that it is “significant.” Id. at p. 10.

      3.     Mr. Primrose’s History and Characteristics

      The third section 3142(g) factor concerns Mr. Primrose’s history and

characteristics. This factor strongly favors release. Aside from the allegations in

the government’s Motion and those it made at his detention hearing, Mr. Primrose

has no prior criminal record. He is physically healthy and has no mental health

issues. Though he does not have family ties in Hawaii other than his co-defendant,

he has lived here for over twenty years and has been employed full time with the

U.S. Coast Guard and then a defense contractor until his arrest. And while the

extent of his finances is not fully known, it is believed that Mr. Primrose could

immediately post a bond secured by cash deposited with this Court to help

effectuate his release. He also has no history of drug or alcohol abuse, and absent a

criminal record, he has never failed to appear at any court proceedings. He was

also not on probation or parole at the time of his alleged commission of the

offenses.

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      Finally, although the government has made allegations about Mr. Primrose’s

supposed connections to Russia and the KGB, they are purely theoretical. As

argued above, the unsupported speculation about Mr. Primrose’s background, as

well as the genesis of his alleged identity theft, should not result in his detention.

      4.     The Nature and Seriousness of the Danger Posed by Release

      The fourth section 3142(g) factor, the nature and seriousness of the danger

posed by the person’s release, also counsels in favor of release. The government’s

arguments for detention are not based on danger to the community. The Magistrate

Judge likewise predicated his Detention Order solely on Mr. Primrose’s purported

serious risk of flight, and not his danger to any one person or the community. See

ECF No. 24, at p. 2. There are also zero statutory presumptions for detention that

Mr. Primrose must rebut. Moreover, and as noted, Mr. Primrose has no prior

criminal record, no substance or mental health issues, and no history of violence.

All of this portends his lack of dangerousness to the community.

      Finally, and as referenced supra, the government has not produced any

credible supporting evidence to demonstrate Mr. Primrose is a danger to the

community on the basis that he is a spy. It is equally plausible, and in fact, far

more likely, that the genesis underlying his alleged crimes has an unremarkable

backstory. Whether such a story will be told remains to be seen, but the

government’s allegations underlying the charges in this case are entirely without

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merit and should not be given consideration by this Court to detain Mr. Primrose.

At the very least, if the government wishes to rely on this speculation, it should put

on actual evidence to support it.

      C.     Defendants on Bond Are Not Likely to Flee or Recidivate

      It is not necessary, furthermore, to detain Mr. Primrose to meet the primary

goals of the Bail Reform Act, which are to reasonably assure appearance in court

and community safety. In this case, guidance by the Administrative Office of the

Courts (AO) statistics demonstrates that nearly everyone released pending trial in

the federal system appears in court and does not reoffend. In fact, in 2019, almost

99% of released federal defendants nationwide appeared for court as required, and

98% did not commit new crimes on bond.6 Interestingly, “pretrial detention is

itself associated with increased likelihood of a prison sentence and with increased

sentence length,” even after controlling for criminal history, offense severity, and

socio-economic variables.7




6
      U.S. District Courts, Pretrial Services Violations Summary Report for the
12-Month Period Ending December 31, 2019, AO Table H-15 (“AO Table H-15”),
archived at https://perma.cc/LYG4-AX4H. (showing a nationwide failure-to-
appear rate of 1.2% and a rearrest rate of 1.9%).
7
       James C. Oleson, et al., The Sentencing Consequences of Federal Pretrial
Supervision, 63 Crime and Delinquency 313, 325 (2017), archived at
https://perma.cc/QAW9-PYYV.

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      The bond statistics for this district, moreover, likewise strongly suggest that

Mr. Primrose should be released. In 2019 in the District of Hawaii, not a single

federal defendant on pretrial release was rearrested for any offense, and not a

single defendant failed to appear as ordered.8 This Court, therefore, should reverse

the Magistrate Judge’s Order Detaining Mr. Primrose and order that Mr. Primrose

be released because the government has not established that he would be among

the approximately 1% of defendants nationally who fail to appear in court, or the

2% nationally who are rearrested on bond. Detaining Mr. Primrose without such

evidence violates his constitutionally protected liberty interest.

                               IV.    CONCLUSION

      For the reasons set forth above, as well as for any others this Court may

deem fair and reasonable, this Court should revoke the Magistrate Court’s Order

Detaining Mr. Primrose and find that there are conditions or a combination of

conditions to reasonably assure Mr. Primrose’s appearance at future Court

proceedings if released, and release Mr. Primrose pending further proceedings in

this case on the conditions described above.

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8
      See, AO Table H-15.
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      DATED: Honolulu, Hawaii, August 11, 2022.



                                     /s/ Max J. Mizono
                                    MAX J. MIZONO
                                    Attorney for Defendant
                                    WALTER GLENN PRIMROSE




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